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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH DAKOTA


UNITED STATES OF AMERICA,

       Plaintiff,                                          CR 20-50095

vs.
                                                      NOTICE OF APPEAL
CODY HOPKINS,

       Defendant.


      Notice is hereby given that Defendant Cody Hopkins appeals to the United

States Court of Appeals for the Eighth Circuit from the Judgment in a Criminal

Case (CR 20-50095 - Doc. 101) entered in this action on May 3, 2023.

      Dated this 15th of May 2023.

                                Respectfully submitted,

                                JASON J. TUPMAN
                                Federal Public Defender
                                By:

                                /s/ Alecia E. Fuller
                                Alecia E. Fuller, Assistant Federal Public Defender
                                Attorney for Defendant
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                            CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of May, 2023, a true and correct copy of
the foregoing Notice of Appeal was served upon the following person, by electronic
mail, as follows:

      Sheri Not Help Him
      Sheri_NotHelpHim@sdd.uscourts.gov

                                        /s/ Alecia E. Fuller
                                        Alecia E. Fuller
                                        Attorney for Defendant, Cody Hopkins




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